EXHIBIT D
July 11, 2022

Dear Judge Sammartino,

I am writing this letter in regards to my brother, Israel Quezada. I am his younger sister, I work with the
In Home Support Services, with the elderly going on 3 years now.

My siblings when we were younger didn't have such a great up bringing. I was too small to remember
but from what I hear our parents weren’t there for us as they should have been. However, we all pretty
much have forgiven our parents and know they didn't know any better.

My brother Israel has turned his life around. He graduated Teen Challenge had a good job, he was so
happy. Unfortunately, Covid happened and he wasn't able to come down to visit us, to visit his kids. My
brother knew the things of God, and it also says in the Bible, if a person knows the things of God and
goes back, he is worser off than the beginning. I believe my brother is a good example of that,
unfortunately.

My brother didn't make the best decisions but I believe he is truly remorseful for his actions, I hear it in
my brother's voice just how much he is sorry and just hopes and prays he gets another chance. My
brother is all for going back to where he fell in love with Jesus and restoring his life back.

If my brother didn't care about changing his life around I surely wouldn't have written this being a
Christian myself. My brother has reached out to the New Creations Men's Home and is absolutely
praying and hoping to be able to go back.

I myself hope and pray you please give him another chance, thank you for your time.

Eva Quezada
